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Exhibit “A”
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and among those three areas was the following. Our concern
regarding -- and I'm quoting -- "disabling conflicts of
interest affecting management in these cases."

Your Honor may also recall that the very next day,
the 30th of April, our 2004 motion was joined by the TCEH ad
hoc unsecured creditors' committee -- unsecured group
represented by White & Case. And on page 9 of their joinder
they specified among the issues critical for an appreciation
of where this case was heading was an appreciation and
understanding cf tax issues.

So between the two of us we had raised and
highlighted from day one of this case concerns regarding
potential conflicts and concerns regarding taxes. And i
want to tie those two together in connection with the
opening statements that Mr. Sassower made before we got into
the agenda, and he suggested that given the withdrawal of
the restructuring support agreement and the motion that the
debtor had filed to assume it, and given the issues that
arose in connection with the debtors since withdrawn motion
for approval of a second Lien financing arrangement that
would have likewise involved the Oncor tax sharing
arrangement, the debtor is now focused on, for lack of a
better term, I think I heard him say an auction process with
regard to the debtors' interests in Oncor.

Now, Your Honor, we haven't seen any motion papers

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